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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

Case No: 21-cr-03534-YGR
Case Name: Simmons v. Federal Insurance Company


                                            TRIAL SHEET

 JUDGE:                         PLAINTIFF ATTORNEY:                     DEFENSE ATTORNEY:
 Yvonne Gonzalez Rogers         Steven Brower, Jason Brower, and        Robert Romero, Alexander
                                Thuy Luong                              Baggio, Jonathan Gross, and
                                                                        Renee Peters
 DATE:                          REPORTER: Raynee Mercado                CLERK: Edwin Cuenco
 February 13, 2025
 TIME IN COURT:
 4 hours 25 minutes


                          DATE/TIME
 PLF NO.     DEF NO.      OFFERED   ID        REC     DESCRIPTION                                      BY
                          8:02 am                     Court is reconvened. Matters are discussed
                                                      outside the presence of the jury: Exhibits, the
                                                      addition of 20 minutes time allocation per side;
                                                      Witnesses to be called and time allocation for
                                                      Phase Two.
 413A-72                                x     x       Underwriting notes dated February 9, 2018.
 413A-329                               x     x       Underwriting notes dated February 9, 2018.
 413A-330                               x     x       Underwriting notes dated February 9, 2018.
                          8:14 am                     The Court is in recess.
                          8:15 am                     Court is reconvened. The Court denies the
                                                      defendant’s oral motion to pause between
                                                      Phase One and Phase Two of the trial.
                          8:18 am                     The Court is in recess.
                          8:29 am                     The Court is reconvened. A note is received
                                                      from the jury.
                          8:30 am                     The jury enters the courtroom.
                          8:33 am                     Defense witness Mr. Thomas Rowe is recalled.
                                                      Mr. Romero continues the direct examination
                                                      of Mr. Rowe.
                          8:41 am                     Cross examination of Mr. Rowe by Mr. Jason
                                                      Brower.
 424                                    x             Invoice dated April 23, 2019.
                          9:02 am                     Mr. Rowe steps down. Defense witness Mr.
                                                      James Strong is called and sworn. Direct
                                                      examination by Mr. Gross.
             1308-1                     x             Photo of addition to the guest house.

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PLF NO.     DEF NO.    DATE/TIME ID      REC     DESCRIPTION                                        BY
                       OFFERED
            475-12               x       x       Photo of plywood with damage and moisture
                                                 meter.
            1520                    x            Stucco layers graphic.
            1344                    x            Site visit field notes from Andrew Shuck dated
                                                 June 17, 2019.
            1413II                  x            Drone photo of northwest corner of guest
                                                 house as repaired dated September 14, 2020.
            1415B                   x            Photo of ellorescence on exterior stucco wall
                                                 of house dated May 8, 2023.
            1194                    x            Aerial photo of Simmons property dated
                                                 October 27, 2021.
            477-28                  x            Photo of right gable wall of the Simmons
                                                 residence.
                       9:43 am                   Cross examination of Mr. Strong by Mr. Jason
                                                 Brower.
1345-2                              x    x       Elevation photo of the Simmons residence.
1345-3                              x    x       Elevation photo of the Simmons residence.
494-1571                            x    x       Previously admitted exhibit.
                       9:48 am                   Defense witness Mr. Strong steps down from
                                                 the stand.
                       9:50 am                   The jury takes a break. Matters are discussed
                                                 outside the presence of the jury.
            1308-1                  x    x       Photo of addition to the guest house.
                       9:59 am                   The Court is in recess.
                       10:09 am                  Court is reconvened. The jury reenters the
                                                 courtroom.
                       10:11 am                  Defense witness Mr. Terrence Paret is called
                                                 and sworn. Direct examination by Mr. Gross.
                       10:15 am                  Cross examination of Mr. Paret by Mr. Jason
                                                 Brower.
                       10:17 am                  Redirect examination of Mr. Paret by Mr.
                                                 Gross.
                       10:19 am                  Mr. Paret steps down from the stand.
                       10:20 am                  Dr. Joel Sipe is called and sworn. Direct
                                                 examination by Mr. Gross.
                       10:33 am                  Cross examination of Dr. Sipe by Mr. Jason
                                                 Brower.
                       10:38 am                  Dr. Sipe steps down from the stand. The
                                                 defense rests.
                       10:39 am                  Jury Instruction binders are distributed to the
                                                 jury. The Court gives additional instructions to
                                                 the jury.
                       10:52 am                  Plaintiff’s closing argument by Mr. Jason
                                                 Brower.
            1001                    x    x       Previously admitted exhibit.

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PLF NO.    DEF NO.     DATE/TIME ID     REC     DESCRIPTION                                       BY
                       OFFERED
           1342                  x      x       Previously admitted exhibit.
           494A-1327               x            E-mail in claims file dated August 2, 2019.
                       11:16 am                 Plaintiff’s closing argument ends.
                       11:18 am                 The jury exits the courtroom. The Court is in
                                                recess.
                       11:30 am                 Court is reconvened. The jury reenters the
                                                courtroom. Defense closing argument by Mr.
                                                Romero.
                       12:15 pm                 Defense closing argument ends. Plaintiff’s
                                                rebuttal by Mr. Jason Brower.
                       12:42 pm                 Plaintiff’s rebuttal ends. The jury is
                                                admonished and given instructions for
                                                deliberation.
                       12:46 pm                 The jury exits the courtroom for deliberation.
                       12:49 pm                 The Court is in recess.
                       1:48 pm                  Court is reconvened. The parties stipulate to
                                                the admission of the following exhibits.
424                                x    x       Sax and Roscoe Invoices dated March 27,
                                                2023.
           1011                    x    x       Renninger e-mail re preliminary report dated
                                                May 13, 2019.
           1013                    x    x       Judy communication to Renninger dated May
                                                15, 2019.
           1014                    x    x       Judy communication dated August 7, 2019.
           1015                    x    x       Irvin Invoice #17 dated September 5, 2019.
           1067                    x    x       Parrish e-mail to Venuti dated August 21,
                                                2019.
547                                x    x       Irvin Invoices dated May 3, 2019 to May 10,
                                                2019.
548                                x    x       E-mails exchanged between Ms. Simmons and
                                                Mr. Irvin dated May 3, 2019 to May 7, 2019.
           1046                    x    x       Mr. Porto’s e-mail to Mr. Venuti dated March
                                                18, 2020.
           1299                    x    x       Photo of green plant adjacent to southeast
                                                corner of residence as of October 10, 2017.
           1300                    x    x       Photo showing lack of visible burn marks on
                                                vegetation, located at northwest corner of
                                                residence as of October 10, 2017.
           1303                    x    x       Photo of entry door on south side of the
                                                detached garage as of October 17, 2017.
           1309                    x    x       Photo of retention wall located in between
                                                guest house and tennis court, as of October 10,
                                                2017.
                       1:50 pm                  The Court is in recess.
                       4:00 pm                  The verdict is received from the jury.

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PLF NO.    DEF NO.    DATE/TIME ID      REC   DESCRIPTION                                       BY
                      OFFERED
                      4:10 pm                 Court is reconvened.
                      4:11 pm                 The jury reenters the courtroom. The verdict is
                                              read on the record.
                      4:14 pm                 The jury is polled. The verdict is recorded.
                      4:16 pm                 The Court addresses the jury. The jury is
                                              admonished and discharged from service.
                      4:19 pm                 The jury exits the courtroom. Further
                                              discussions with the parties re post-trial
                                              motions and exhibit handling.
                      4:20 pm                 Court is adjourned.




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